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'The redacted GBI report may be found at
https://s3.documentcloud.org/documents/24 | 17807/gbi-report-redacted-| .pdf
Plaintiffs will file a sealed unredacted copy at the Court’s request.

